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6                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF CALIFORNIA
7                                    SAN JOSE DIVISION
8 In re                                          )       Case No.: 16-53437 meh
                                                 )
9 BERT BIRMINGHAM,                               )       Chapter 13
                                                 )
10                        Debtor.                )       DECLARATION OF JEFF WHALEN IN
                                                 )       SUPPORT OF MOTION TO
11                                               )       MODIFY CHAPTER 13 PLAN
                                                 )
12                                               )       Date: May 10, 2018
                                                 )       Time: 9:30 a.m.
13                                               )       Judge M. Elaine Hammond
14
           I, JEFF WHALEN, hereby declare as follows:
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     1.    I am the son of the Debtor herein. I make this declaration based upon my own personal
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           knowledge. If called as a witness to testify in this proceeding, my testimony would be
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           substantially in conformance with the statements herein.
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     2.    I have been, during the course of the Chapter 13, contributing to the Debtor’s monthly
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           payments owed to the Chapter 13 Trustee. The Debtor has income that he receives on account
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           of pension and social security. He has not been able, over the last number of months, to earn
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           his customary wages and salary as a pipe fitter because of various health issues. Consequently,
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           I have been contributing increased amounts to him for his living expenses (and that of my
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           mother who resides with him) as well as the Chapter 13 plan payments.
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     3.    My sources of income are from two businesses. I own a dairy ranch and sell milk
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           commercially. I also operate a trucking business which is involved in the hauling of dirt and
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           other materials from commercial building projects and road construction projects. I have had
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           both of these businesses for a number of years. From the monthly operations of the two
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     DECLARATION                                                                                      1
     Case: 16-53437      Doc# 75     Filed: 05/07/18     Entered: 05/07/18 13:26:02         Page 1 of 2
 1          businesses, I have averaged over the last 12-18 months approximately $35,000.00 to
 2          $60,000.00 in gross revenue. The expenses of the operations of the two businesses are paid
 3          each month and I have personal expenses which I pay from the balance of net revenues. After
 4          paying my personal expenses and the business expenses, I have averaged between $4,500.00
 5          to approximately $7,500.00 per month.
 6 4.       I am single and I do not have any domestic support obligations. I am not subject to any levies
 7          or assessments on my bank accounts by any federal or state taxing authority.
 8 5.       I have the financial ability to contribute towards and to pay to my father for his use to pay the
 9          Chapter 13 Trustee the increased payments which are referred to in the motion to modify his
10          Chapter 13 plan. Further, if it is determined by the Court or by the Trustee that the amounts
11          due to the Chapter 7 Trustee of Mr. Roldan are such that the proposed modification payments
12          need to be increased, I am able to contribute additional amounts towards the modification.
13 6.       Also, I wish to state to the Court that I understand that the modification which is sought by my
14          father cannot mitigate or change the order previously issued by the Court granting relief from
15          the automatic stay. I understand that it is a final order, and my father understands that also.
16 7.       I am requesting that the Court issue an order granting the motion to modify the Debtor’s
17          Chapter 13 plan.
18 I DECLARE under the penalty of perjury of the laws of the United States of America that the

19 foregoing is true and correct.

20 Dated May 7, 2018.
                                                           /s/ Jeff Whalen
21                                                         JEFF WHALEN
                                                           Declarant
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     DECLARATION                                                                                        2
     Case: 16-53437       Doc# 75      Filed: 05/07/18     Entered: 05/07/18 13:26:02         Page 2 of 2
